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         Exhibit E
            Case 4:23-mc-80005-HSG Document 19-6 Filed 05/08/23 Page 2 of 2
                                                       Thursday, April 27, 2023 at 15:57:31 Paciﬁc Daylight Time


Subject:    In Re Subpoena to Cloudﬂare; Case No. 3:23-mc-80005-AGT-HSG (NDCA)
Date:       Wednesday, February 8, 2023 at 5:09:44 PM Paciﬁc Standard Time
From:       Victoria Python
To:         Patrick Trainor, Esq., jrieper@cloudﬂare.com
CC:         Aaron Mackey, Mukund Rathi, Corynne McSherry, Cindy Cohn
AEachments: 012 Reassignment Order.pdf, 013 Order Reassigning Case.pdf, HSG_Civil_Standing_Order_1-4-
            2022.pdf, 2023-02-08 Proof of Service.pdf

Dear Counsel:

With regard to the ma]er referenced above, please ﬁnd a]ached Reassignment Order, Order Reassigning
Case, and Standing Order for Civil Cases before District Judge Haywood S. Gilliam, Jr. with proof of service.
These documents are also being sent to you by U.S. Mail.

Best wishes,

Victoria Python
Senior Legal Secretary
Electronic Froncer Foundacon
815 Eddy Street
San Francisco, CA 94109
(415) 436-9333, ext. 105




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